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 8                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
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10                                            )       Case No.: 3:16-cv-02919-AJB-BGS
       Kimberly Morrisette Montes,
                                              )
11                                            )       ORDER GRANTING JOINT
12                   Plaintiff,               )       MOTION FOR DISMISSAL OF
                                                      ACTION WITH PREJUDICE
                             v.               )
13
                                              )
14     National Collegiate Student Loan       )       (DOC. NO. 13)
       Trust 2005-1, A Delaware               )
15
       Statutory Trust(s)                     )
16                                            )
                                              )
17                   Defendant.
                                              )
18
19            Based upon the Joint Motion for Dismissal, and good cause, this Court
20    hereby orders the action to be, and is, dismissed with prejudice. Each party to bear
21    their own attorneys’ fees and costs.
22    IT IS ORDERED.
23    Dated: April 25, 2017
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      ORDER                                       1                    3:16-CV-02919-AJB-BGS
